          Case 2:19-cv-01180-CRE Document 12 Filed 11/12/19 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                   PITTSBURGH

JOHN DOE,                                           )
                                                    )
                Plaintiff,                          )             2:19-CV-01180-CRE
                                                    )
        vs.                                         )
                                                    )
UNIVERSITY OF PITTSBURGH OF THE                     )
COMMONWEALTH SYSTEM OF                              )
                                                    )
HIGHER EDUCATION,                                   )
                                                    )
                Defendant,

                                 ORDER TO SHOW CAUSE

       AND NOW, this 12th day of November, 2019,

       After the court having ordered the Plaintiff to show cause as to why he should be permitted

to proceed in this case anonymously by November 5, 2019, and Plaintiff not having done so,

       IT IS HEREBY ORDERED that Plaintiff shall respond to the show cause by November

19, 2019. Failure to respond to this show cause order may result in the court dismissing the case

for failure to prosecute.


       DATED this 12th day of November, 2019.

                                            BY THE COURT:

                                            s/Cynthia Reed Eddy
                                            Chief United States Magistrate Judge




                                                1
